Case 3:15-cr-00058-TAD-KDM           Document 77       Filed 09/14/15     Page 1 of 24 PageID #:
                                            239



                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

  UNITED STATES OF AMERICA                        *    CRIMINAL NUMBER 15-0058-02


  VERSUS                                          *    JUDGE ROBERT G. JAMES


  KEVIN HONEYCUTT                                 *    MAG. JUDGE KAREN L. HAYES

                            REPORT AND RECOMMENDATION

        Before the undersigned Magistrate Judge, on reference from the District Court, is a

 motion to suppress [doc. # 49] filed by defendant, Kevin Honeycutt. For reasons stated below, it

 is recommended that the motion be DENIED.

                                           Background

        On October 8, 2014, agents with the Metro Narcotics Unit (“MNU”) began monitoring

 Ouachita Correctional Center detainee, Vacarra Rogers’ (a/k/a Vacarra Comanche) telephone

 conversations. In so doing, agents heard Rogers arrange for Kendra Turner to travel to Dallas on

 October 9, 2014, to retrieve what they believed to be was controlled dangerous substances.

 Armed with this information, an agent applied for, and obtained, a warrant from a state court

 judge to place a GPS tracking device on Turner’s vehicle.

        The tracking device notified the agents as the vehicle left Monroe, Louisiana, and

 traveled to Dallas, Texas, arriving at approximately 2:30 a.m. on October 10, before quickly

 turning around to return to the Monroe area. Accordingly, at 6:06 a.m, on October 10, 2014, an

 MNU agent applied for, and obtained a warrant to search Turner’s vehicle for methamphetamine.

 MNU agents stopped Turner’s vehicle as it exited I-20 in Monroe, Louisiana, and brought it to

 MNU headquarters where it was searched. The search uncovered approximately one pound of
Case 3:15-cr-00058-TAD-KDM            Document 77        Filed 09/14/15     Page 2 of 24 PageID #:
                                             240



 methamphetamine hidden in the tire well of the trunk.

        Upon questioning by the agents, Kendra Turner agreed to place a controlled telephone

 call to Kevin Honeycutt – the person to whom she had intended to deliver her illicit cargo.

 Following the call, five or six MNU agents, including Special Agent Vic Zordan of the Drug

 Enforcement Agency (“DEA”), converged on Honeycutt’s residence. Honeycutt answered the

 door, and agreed to speak with the agents. He acknowledged that Turner had left some

 methamphetamine with him, and led the agents to a bedroom where he revealed a mason jar

 containing approximately 100 grams of methamphetamine. The agents placed Honeycutt under

 arrest and obtained his permission to search the remainder of the home. The agents promptly

 found two firearms: a Taurus revolver and a Lorcin pistol. Honeycutt told the agents that the

 revolver was his, but that he was holding the pistol for his friend.

        On March 26, 2015, a federal grand jury returned a five-count indictment against Kevin

 Honeycutt and three co-defendants, Vacarra Rogers, Kendra Turner, and Ruby McMillan. Three

 of the five counts were directed against Honeycutt for possession of methamphetamine with

 intent to distribute, conspiracy to possess and distribute methamphetamine, and possession of

 firearms by a convicted felon, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(viii), 846 and

 18 U.S.C. § 922(g)(1). See Indictment.

        On June 30, 2015, Honeycutt, via counsel, filed the instant motion to suppress all

 evidence and statements obtained in violation of his constitutional rights. Following delays for a

 September 1, 2015, hearing, the matter is now before the court.

                        Relevant Testimony and Documentary Evidence

        A single witness testified at the hearing – S.A. Vic Zordan. In addition, the government

 introduced all twelve of the exhibits that the court accepted into evidence.


                                                   2
Case 3:15-cr-00058-TAD-KDM         Document 77        Filed 09/14/15      Page 3 of 24 PageID #:
                                          241



       The court summarizes relevant testimony and evidence, as follows,

 1.    On October 8, 2014, Ouachita Parish Sheriff Deputy Paul Knight received information
       concerning telephone calls originating from the Ouachita Correctional Center (“OCC”)
       which were suggestive of activity involving controlled dangerous substances (“CDS”).
       Specifically, the OCC inmate telephone system revealed that detainee, Vaccara Rogers,
       had called Kendra Turner, an associate of his, who, along with Rogers, had been arrested
       on August 2, 2014, but subsequently released. During the first call, Rogers had Turner
       conference in Rogers’ mother so he could attempt to persuade her (unsuccessfully) to take
       a child and accompany Turner on the trip because it would make a better “cover.” Thirty
       minutes later, Rogers again called Turner and had her conference in Rogers’ “uncle.”
       Rogers told his uncle to “have it on deck,” because it would be an immediate turnaround.
       Rogers then had Turner conference in Kevin Honeycutt to whom he explained that
       everything was set. Rogers did not identify any specific CDS by name, but sometimes
       referred to the items to be transported as “tires.”

 2.    Further monitoring of the telephone calls revealed that after she left work on October 9,
       2014, Turner intended to drive a 2003 Lexus GS 300 bearing Louisiana license plate
       number YOE 289 to 870 Valleybrook in Arlington, Texas, and to return on October 10.
       Records confirmed that the Lexus was registered to Kendra Turner.

 3.    Armed with this information, Deputy Knight applied for a search warrant to place a
       global positioning system (“GPS”) tracking device on the 2003 Lexus. In his affidavit,
       Knight represented that agents had monitored jailhouse calls from Rogers to Turner in
       which Rogers directed Turner to transport “CDS” from Texas to Monroe. Knight noted
       that Rogers had instructed Turner on how to avoid law enforcement detection. Further
       conversations between the subjects indicated that Turner would depart the Monroe area
       when she left work around 10:00 p.m. Citing his fourteen years of experience as a
       Ouachita Parish Sheriff’s deputy, Knight opined that it was common for individuals
       involved in CDS distribution in Ouachita Parish to travel to parts of Texas to obtain the
       CDS.

 4.    On October 9, 2014, at 4:55 p.m., the Honorable Daniel Ellender, 4th Judicial District
       Court Judge, for the Parish of Ouachita, State of Louisiana, signed a warrant authorizing
       the “search” of the 2003 Lexus GS 300 by seizing the “routes, direction of travel,
       information and current vehicle locations for a period not to exceed 30 calendar days.”
       At 7:32 p.m., on October 9, 2014, MNU agents placed a tracking device on the Lexus,
       which permitted them to remotely monitor the car’s movement.

 5.    The device revealed that later in the evening on October 9, the Lexus entered Interstate 20
       apparently in Monroe, Louisiana, and proceeded westbound before exiting at 1:39 a.m. on
       October 10 in the Dallas area. The car stopped at a location on Valleybrook Drive, and
       remained there for seven and one-half minutes before departing. After stopping at a
       convenience store, the car re-entered I-20, eastbound.

                                                3
Case 3:15-cr-00058-TAD-KDM           Document 77       Filed 09/14/15      Page 4 of 24 PageID #:
                                            242



 6.     With this additional information, and after having heard Rogers tell Turner during one of
        the monitored calls that she should not consent to search the vehicle, Scotty Sadler1
        petitioned Judge Ellender on October 10, 2014, at 6:06 a.m. for a warrant to search
        Turner’s vehicle. In his supporting affidavit, Sadler recounted the facts from the previous
        affidavit used to obtain the tracking device warrant, but included the additional facts that
        the car had traveled to Dallas and stopped briefly at two locations before returning to
        Ouachita Parish. Sadler averred that the vehicle had been stopped by MNU agents.
        Judge Ellender issued a warrant to search the vehicle which was purportedly located at “I-
        20 westbound 118 milepost, West Monroe, LA 71291.”

 7.     MNU agents, however, actually stopped Turner’s car when it exited I-20 eastbound at
        Jackson Street, Monroe, Louisiana. According to the report prepared by Deputy Knight
        (Gov.’t Exh. 5) agents observed the vehicle on I-20 at 6:15 a.m., and followed it until it
        exited on Jackson Street. Thus, if the times set forth in the search warrant and Deputy
        Knight’s report are correct, then the agents obtained the search warrant shortly before the
        vehicle was stopped.

 8.     MNU agents brought the vehicle and its sole occupant, Kendra Turner, to MNU
        headquarters where, at 7:05 a.m., a search of the vehicle’s trunk uncovered a tupperware
        bowl wrapped in plastic containing 521 grams of methamphetamine. MNU agents
        promptly placed Turner under arrest.

 9.     S.A. Zordan read Turner her Miranda rights, before he and Deputy Knight questioned
        her. Turner told the agents that Rogers had asked her to go to Arlington, Texas, to pick
        up “tires.” She was supposed to deliver these “tires” to Kevin Honeycutt. S. A. Zordan
        testified at the hearing that “tires” was a commonly used code name used by drug
        traffickers for illegal or controlled substances. Zordan and Knight eventually asked
        Turner if she would be willing to make a recorded telephone call to Honeycutt. She
        agreed. At 9:18 a.m., Turner called Honeycutt and told him that she intended to go to his
        residence.

 10.    That afternoon, an MNU team comprised of five-six agents converged on Honeycutt’s
        residence at 1713 Hollywood Drive, Monroe, Louisiana. Although all of the team
        members were armed, no one had their weapons drawn. S.A. Zordan, who was dressed in
        shorts, sneakers, a t-shirt, and a ballistics vest labeled “Police,” knocked on the door.
        Almost immediately, Kevin Honeycutt answered. Zordan asked Honeycutt if he could
        speak with him, to which Honeycutt replied, “sure.” Thus, the agents stepped inside the
        house.

 11.    Zordan explained to Honeycutt that there was a significant investigation going on


        1
          According to his affidavit, Sadler also was a fourteen year veteran with the Ouachita
 Parish Sheriff.

                                                 4
Case 3:15-cr-00058-TAD-KDM          Document 77        Filed 09/14/15     Page 5 of 24 PageID #:
                                           243



        involving Kendra Turner, and that he believed that Honeycutt knew more than he was
        disclosing. Honeycutt told the agents that Turner was supposed to bring him some
        money. Zordan interjected at that point,2 and, in an authoritative tone, advised Honeycutt
        of his Miranda rights.3 After reciting the warnings, Zordan confirmed with Honeycutt
        that he understood his rights. At no time did Honeycutt tell the agents that he wished to
        consult a lawyer before speaking with them. He also did not give the agents the
        impression that he was reluctant to talk with them without an attorney present. To the
        contrary, Honeycutt was the epitome of cooperation.

 12.    Zordan related to Honeycutt that he had listened to the telephone call between Turner and
        Honeycutt. Zordan then asked Honeycutt whether he had anything illegal in the house.
        Honeycutt replied that Turner had left some methamphetamine there. Zordan asked
        Honeycutt if he minded whether the agents took possession of the contraband. Honeycutt
        did not voice any objection and began to walk down the hall to retrieve it. Because of the
        possibility that Honeycutt might be using this explanation as a ruse to arm himself with a
        weapon, Zordan quickly stated, “hold on a second, let’s go together.” Honeycutt did not
        object to the officers’ accompanying him. Two other members of the team went with
        Zordan down the hall.

 13.    Honeycutt led the agents into a bedroom that was used for storage. Honeycutt moved
        some clothing and uncovered a mason jar containing approximately 100 grams of
        methamphetamine. The agents secured the jar and escorted Honeycutt back to the living
        room where Zordan informed him that he was under arrest. The agents did not handcuff
        Honeycutt, however.

 14.    Zordan told Honeycutt that they needed to search the rest of the house, and asked if there
        was any other contraband present and whether he minded if the agents searched the house
        for any other stuff. Honeycutt assured the agents that there was nothing else, and
        assented to the search. As per his practice, Zordan did not obtain written consent to
        search. Zordan remained with Honeycutt while several other agents searched the various
        rooms in the house. Honeycutt did not restrict the scope of the search in any way.
        Moreover, because of the small size of the house, Honeycutt was able to see much of the
        house from where he was located.

 15.    The search quickly resulted in the discovery of two firearms: a .357 revolver and a
        Lorcin handgun. Honeycutt told Zordan that the revolver was his, but that he was holding
        the Lorcin for a friend of his. The search also uncovered several re-sealable bags


        2
           Deputy Knight indicated in his report that Zordan advised Honeycutt of his Miranda
 rights “upon making contact” with him, and before any questions were asked.
        3
          Zordan stated that he did not provide Honeycutt with written Miranda warnings
 because it was not his practice to do so.

                                                5
Case 3:15-cr-00058-TAD-KDM           Document 77       Filed 09/14/15      Page 6 of 24 PageID #:
                                            244



        commonly used to package CDS, a digital scale, and $800 cash in small denominations.

 16.    Zordan estimated that two minutes elapsed between the time that he advised Honeycutt of
        his Miranda rights, and when he placed Honeycutt under arrest. The agents located the
        firearms within two minutes after that. At no time did Honeycutt rescind his consent.

 17.    Honeycutt remained jovial and cooperative throughout the encounter. Zordan explained
        that when he would ask Honeycutt a question, Honeycutt would freely elaborate in his
        responses. The officers never exerted any physical force on Honeycutt. No force was
        necessary because Honeycutt never offered any physical or verbal resistance.

 18.    Honeycutt later assisted the agents by participating in a recorded telephone call to Ruby
        McMillan. A photograph depicts Honeycutt cooperatively showing S.A. Zordan his
        cellphone. (Gov.’t Exh. 12). Honeycutt told one of the agents that McMillan had paid
        $5,000 for six ounces of methamphetamine, which he was supposed to deliver to her in
        Sterlington, Louisiana. Honeycutt said that he had done this twice before with McMillan.
        Honeycutt further assisted the agents by participating in a controlled delivery of
        methamphetamine to Ruby McMillan. Throughout the encounter, Honeycutt never
        stopped being cooperative, and never expressed any remorse concerning his prior
        cooperation.

                                        Law and Analysis

        Honeycutt’s motion seeks to suppress the two warrants issued by the state court judge

 pertaining to Kendra Turner’s vehicle, plus another warrant issued for her cell phone,4 “due to

 omissions and mistakes contained within the affidavits and oaths in support thereof . . .” He

 further alleges that he did not receive any Miranda warnings, and therefore, any statements

 obtained from him should be suppressed. Finally, he contends that he never consented to a

 search of his home; thus, any evidence uncovered pursuant to that search must be suppressed.


        4
           The application and warrant for Turner’s cellphone was not introduced into evidence at
 the hearing. It was, however, attached as an exhibit to defendant’s motion to suppress.
 Nonetheless, MNU agents did not apply for, and obtain the cell phone warrant until October 15,
 2014, – i.e. several days after they had obtained incriminating evidence and statements from
 Honeycutt. Thus, any deficiencies in the cell phone warrant did not lead to the discovery of any
 non-cumulative evidence against Honeycutt. In any event, as with Turner’s car, see discussion
 infra, Honeycutt has failed to demonstrate a legitimate expectation of privacy in Turner’s phone
 as required to support a Fourth Amendment challenge to its search.

                                                 6
Case 3:15-cr-00058-TAD-KDM             Document 77       Filed 09/14/15     Page 7 of 24 PageID #:
                                              245



 The court will address the arguments, in turn.

 I.        The Car

           a)     Honeycutt Does Not Enjoy Standing to Contest the Search(es) and Seizure of
                  Turner’s Vehicle

           The Fourth Amendment guarantees “[t]he right of the people to be secure in their persons,

 houses, papers, and effects, against unreasonable searches and seizures.” U.S. CONST., AMEND.

 IV. The protections of the Fourth Amendment extend to the states via the Fourteenth

 Amendment. Dunaway v. New York, 442 U.S. 200, 207, 99 S.Ct. 2248, 2253-2254 (1979)

 (citation omitted). The courts deter Fourth Amendment violations by excluding evidence

 obtained as a result of the transgression. See United States v. Gibbs, 421 F.3d 352, 357 (5th Cir.

 2005) (citation omitted).

           A key limitation to the foregoing principle, however, is that Fourth Amendment rights

 may not be vicariously asserted. United States v. Powell, 732 F.3d 361, 374 (5th Cir. 2013), cert.

 denied,        U.S.    , 134 S. Ct. 1326 (2014) (citing Alderman v. United States, 394 U.S. 165,

 174, 89 S.Ct. 961 (1969). That is to say, a “defendant seeking to suppress evidence under the

 Fourth Amendment must demonstrate that his or her individual rights were violated.” Id. (citing

 Rakas v. Illinois, 439 U.S. 128, 134, 99 S.Ct. 421 (1978)). Toward that end, the defendant must

 show that he or she had a legitimate expectation of privacy in the area searched. United States v.

 Ibarra, 948 F.2d 903, 905 (5th Cir. 1991) (citing inter alia Rawlings v. Kentucky, 448 U.S. 98,

 104, 100 S.Ct. 2556, 2561 (1980)). Defendant bears the burden of establishing standing. United

 States v. Hernandez, 647 F.3d 216, 219 (5th Cir. 2011) (citation omitted).5 Standing is a


           5
          Although the Supreme Court has merged the “standing” requirement into the
 substantive Fourth Amendment analysis itself, the Fifth Circuit continues to discuss the Fourth

                                                   7
Case 3:15-cr-00058-TAD-KDM            Document 77        Filed 09/14/15      Page 8 of 24 PageID #:
                                             246



 question of law. Ibarra supra (citation omitted).

        In determining whether a defendant has a reasonable expectation of privacy sufficient to

 contest the validity of a search, the court inquires “(1) whether the defendant is able to establish

 an actual, subjective expectation of privacy with respect to the place being searched or items

 being seized, and (2) whether that expectation of privacy is one which society would recognize as

 reasonable.” United States v. Finley, 477 F.3d 250, 258-59 (5th Cir. 2007) (citations omitted).

 Relevant factors include,

        whether the defendant has a [property or] possessory interest in the thing seized or
        the place searched, whether he has a right to exclude others from that place,
        whether he has exhibited a subjective expectation of privacy that it would remain
        free from governmental intrusion, whether he took normal precautions to maintain
        privacy[,] and whether he was legitimately on the premises.
 Id.

 In this case, defendant fails to satisfy either prong of the “reasonable expectation of privacy”

 requirement.

        In his motion, Honeycutt did not set forth any basis to support a subjective expectation of

 privacy in Turner’s vehicle. In fact, he did not assert any possessory interest in the car or the

 drugs seized from the trunk of Turner’s car. In Rakas, the Supreme Court confirmed that a car

 passenger has no legitimate expectation of privacy in the car’s glove compartment or trunk where

 the passenger did not assert a possessory interest in the car or in the property seized. Rakas, 439

 U.S. at 148-149, 99 S. Ct. 421 at 433. Even if Honeycutt had a possessory interest in the drugs




 Amendment’s “personal” interest requirement in terms of standing. United States v. Maldonado,
 999 F.2d 1580, 1993 WL 307857, *3, n2 (5th Cir. 1993) (unpubl.).

                                                   8
Case 3:15-cr-00058-TAD-KDM            Document 77       Filed 09/14/15      Page 9 of 24 PageID #:
                                             247



 found in the car,6 he has not demonstrated any subjective expectation of privacy in Turner’s car.

 See Rawlings, supra (although petitioner claimed ownership of drugs in third-party’s purse, he

 failed to demonstrate subjective expectation of privacy in the purse itself); see also United States

 v. Pierce, 959 F.2d 1297, 1303 (5th Cir. 1992) (no standing where defendant never attempted to

 establish any privacy interest in the package); United States v. Koenig, 856 F.2d 843, 846 (7th

 Cir. 1988) (no standing where defendant failed to assert that he was part owner of the drugs in

 transit).

         In an attempt to circumvent the Supreme Court’s restrictive application of the

 exclusionary rule to transgressions of an individual’s own Fourth Amendment rights, defendant

 urges the court to consider the Louisiana Constitution which expressly extends standing to “[a]ny

 person adversely affected” by an illegal search or seizure. LA. CONST. ART. 1, § 5. The various

 states, of course, enjoy the autonomy to impose higher standards on searches and seizures than

 that required by the Federal Constitution. Cooper v. State of Cal., 386 U.S. 58, 62, 87 S. Ct. 788,

 791(1967). However, the federal courts are not bound to apply these protections in a federal

 prosecution. Rather, “[w]hether the Fourth Amendment has been violated is determined solely

 by looking to federal law on the subject.” United States v. Walker, 960 F.2d 409, 415-16 (5th Cir.

 1992); United States v. Guerrero, 500 F. App'x 263, 265 (5th Cir. 2012). Similarly, federal law

 exclusively guides application of the exclusionary rule in federal court. United States v.

 Mahoney, 712 F.2d 956, 959 (5th Cir. 1983). Moreover, the Supreme Court has categorically

 rejected the argument that an individual expectation of privacy should be deemed reasonable as a



         6
         At best, the evidence suggests that Honeycutt facilitated the exchange of drugs and
 money between Turner and McMillan.

                                                  9
Case 3:15-cr-00058-TAD-KDM           Document 77        Filed 09/14/15      Page 10 of 24 PageID #:
                                             248



 matter of federal constitutional law merely because the underlying seizure was impermissible

 under state law. California v. Greenwood, 486 U.S. 35, 43, 108 S. Ct. 1625, 1630 (1988); see

 also United States v. Longoria, 352 F. App'x 968, 969 (5th Cir. 2009) (evidence that was

 purportedly seized without a warrant in contravention of local law did not provide grounds for

 relief under the Fourth Amendment where the defendant did not have a reasonable expectation of

 privacy in the area searched). Societal understandings of privacy that underpin Fourth

 Amendment analysis remain independent of state laws on the subject. See Greenwood, supra.

        In sum, defendant’s efforts to invoke the Louisiana Constitution as a basis for according

 him an objective expectation of privacy in Turner’s vehicle prove unavailing.

        b)      The Search Warrants Are Supported by Probable Cause

        Even if Honeycutt had demonstrated a legitimate expectation of privacy in Turner’s car

 and its contents, the court still finds that exclusion is not warranted. The exclusionary rule

 requires the suppression of evidence that is seized pursuant to a warrant unsupported by probable

 cause. United States v. Pope, 467 F.3d 912, 916 (5th Cir. 2006) (citation omitted). “[T]he

 exclusionary rule is designed to deter police misconduct rather than to punish the errors of judges

 and magistrates.” Gibbs, supra (citation omitted). Thus, “[e]vidence obtained during the

 execution of a subsequently invalidated search warrant is not excluded if the officer executing the

 warrant relied on it in good faith.” Id. If this good faith exception applies, then the inquiry ends.

 Gibbs, supra. The government bears the burden of demonstrating that the good faith exception

 applies. U.S. v. Gant, 759 F.2d 484, 487 (5th Cir. 1985).

        Pursuant to the good faith exception, a reviewing court is obliged to defer to an issuing

 judge’s probable cause determination in signing a warrant unless:


                                                  10
Case 3:15-cr-00058-TAD-KDM            Document 77         Filed 09/14/15       Page 11 of 24 PageID #:
                                              249



         (1)     the issuing-judge was misled by information in an affidavit that the
                 affiant knew was false or would have known was false except for
                 his reckless disregard of the truth;

         (2)     the issuing-judge wholly abandoned his judicial role in such a
                 manner that no reasonably well trained officer should rely on the
                 warrant;

         (3)     the underlying affidavit is “bare bones” (so lacking in indicia of
                 probable cause as to render official belief in its existence entirely
                 unreasonable); or

         (4)    the warrant is so facially deficient . . . that the executing officers
                cannot reasonably presume it to be valid.
 Gibbs, supra (citations and internal quotation marks omitted).

 If the good faith exception does not apply, the court must consider whether the warrant was

 supported by probable cause. Gibbs, supra.

         Here, defendant primarily invokes the first qualifier and argues that the good faith

 exception does not apply because MNU agents misleadingly represented in their warrant

 applications that Vacarra Rogers had directed Turner to transport “CDS” from Texas to Monroe.

 Defendant contends that Rogers never named any illicit substance in the telephone calls and

 instead used code words such as “tire.” However, defendant makes no showing that MNU agents

 deliberately lied or recklessly disregarded the truth. See United States v. Smith, 609 Fed. Appx.

 180 (5th Cir. 2015).

         Even if he had made such a showing,

         [a] misstatement can vitiate an affidavit only where the misrepresentations are the
         product of deliberate falsehood or of reckless disregard for the truth. The court
         must then consider whether the remaining portion of the affidavit is sufficient to
         support a finding of probable cause. After omitting all intentional or reckless
         falsehoods, the issue is whether the affidavit contains facts from which the
         magistrate could make an informed and independent judgment as to whether
         probable cause existed and whether there was a substantial basis for his


                                                    11
Case 3:15-cr-00058-TAD-KDM           Document 77         Filed 09/14/15      Page 12 of 24 PageID #:
                                             250



        determination that probable cause did exist.
 Moreno v. Dretke, 450 F.3d 158, 169-70 (5th Cir. 2006) (internal citations and quotation marks
 omitted).

 Probable cause exists when under the “totality of the circumstances . . . there is a fair probability

 that contraband or evidence of a crime will be found in a particular place.” United States v.

 Newman, 472 F.3d 233, 237 (5th Cir. 2006). Furthermore, a magistrate needs only a substantial

 basis for concluding that a search would uncover evidence of wrongdoing. United States v.

 Allen, 625 F.3d 830, 840 (5th Cir. 2010) (citation omitted).

        The undersigned finds that after redacting the information challenged by defendant, the

 remainder of the affidavit provides probable cause to support the initial tracking device warrant.

 See United States v. Namer, 680 F.2d 1088, 1093 (5th Cir. 1982). Omitting the “CDS, reference,

 the affidavit stated that a detainee (i.e. someone already in prison on another pending charge)

 directed a female to take a trip to Texas to retrieve “something” from an individual there. The

 detainee further instructed the female on how to avoid law enforcement detection – a statement

 that confirms the trip’s illicit purpose. The female also is supposed to make the trip in her

 vehicle, after she leaves work on October 9, 2014. Finally, the affiant explained that it was

 common for subjects involved in distribution of CDS to travel to Texas to acquire their product.

        The (second) search warrant for Turner’s car also was supported by probable cause. The

 supporting application included the same background information from the tracking device

 application, but added that the vehicle had traveled to Dallas, Texas, arrived there on October 10,

 2014, at 2:30 a.m., and briefly stopped at two locations before returning to the Monroe area. See

 e.g., Maryland v. Dyson, 527 U.S. 465, 465-66, 119 S. Ct. 2013, 2013 (1999) (probable cause to

 stop and search car where deputy had received tip that driver had gone to New York to buy


                                                  12
Case 3:15-cr-00058-TAD-KDM           Document 77         Filed 09/14/15      Page 13 of 24 PageID #:
                                             251



 drugs); United States v. Benard, 680 F.3d 1206, 1210 (10th Cir. 2012) (officers had probable

 cause to stop and search car based on intercepted phone calls from which they inferred that

 defendant intended to buy cocaine from a tire store, despite the fact that he sometimes bought

 actual tires there).

         Defendant highlights various irregularities in the warrant application including the fact

 that rather than being stopped on I-20 westbound in West Monroe, the vehicle actually was

 stopped in Monroe after exiting I-20 eastbound. Moreover, the application indicated that the

 agent believed that “methamphetamine” may be found, which defendant contends is evidence

 that the officers already had searched the car at the time they applied for the warrant. These

 errors, however, likely represent holdovers from a prior version of the application form that the

 agents used in another case. Technical errors, of course, do not invalidate a warrant. United

 States v. Almaguer, 589 F. App'x 285, 286 87 (5th Cir. 2015) (citation omitted).

         These errors in the application and the ambiguous sequencing of the stop and warrant

 application are not material because the agents did not need a warrant to stop and search the car.

 The “automobile exception” to the search warrant authorizes the police to search a vehicle if they

 have probable cause to believe that it contains contraband. United States v. Fields, 456 F.3d 519,

 523 (5th Cir. 2006) (citing Maryland v. Dyson, 527 U.S. 465, 467 (1999)). “[T]he automobile

 exception does not have a separate exigency requirement: ‘If a car is readily mobile and probable

 cause exists to believe it contains contraband, the Fourth Amendment . . . permits police to

 search the vehicle without more.’ ” Dyson, 527 U.S. at 467 (quoting Pennsylvania v. Labron, 518

 U.S. 938, 940 (1996) (per curiam)). “[I]f probable cause justifies the search of a lawfully

 stopped vehicle, it justifies the search of every part of the vehicle and its contents that may


                                                  13
Case 3:15-cr-00058-TAD-KDM           Document 77       Filed 09/14/15      Page 14 of 24 PageID #:
                                             252



 conceal the object of the search.” Ross, 456 U.S. at 825.

        As the facts in the warrant application(s) readily demonstrate, the officers had probable

 cause to believe that Turner’s vehicle contained contraband, sufficient for them to stop the car

 and to remove it to headquarters for a safe, thorough search. United States v. Powell, 732 F.3d

 361, 373 (5th Cir. 2013) cert. denied,    U.S.     , 134 S. Ct. 1326 (2014) (probable cause to

 search the vehicle also authorized movement of the car to a safer location to conduct the search)

 (citation omitted).7

        In sum, the court discerns no viable Fourth Amendment-inspired challenge cognizable to

 defendant as a result of the stop and search of Turner’s 2003 Lexus and the subsequent discovery

 of contraband therein.

 II.    The Home

        a)      The Agents Did Not Violate the Fourth Amendment By Conducting a
                “Knock and Talk”

        Law enforcement officers are not constitutionally obliged to halt a criminal investigation

 and apply for a search warrant as soon as they obtain requisite evidence to establish probable

 cause. Kentucky v. King, 563 U.S. 452, 131 S. Ct. 1849, 1860-61 (2011).8 Rather, officers,


        7
           The court notes that the stopping officer is entitled to rely upon the collective
 knowledge of all the officers and deputies involved in the investigation of Turner and her
 vehicle. United States v. Hernandez, 477 F.3d 210, 215 n13 (5th Cir. 2007) (citation omitted).
 “Under the collective knowledge doctrine, it is not necessary for the arresting officer to know all
 of the facts amounting to probable cause, as long as there is some degree of communication
 between the arresting officer and an officer who has knowledge of all the necessary facts.”
 United States v. Ibarra, 493 F.3d 526, 530 (5th Cir. 2007) (citation omitted).
        8
          In contrast to the 2003 Lexus, the undersigned observes that defendant possesses the
 requisite standing to assert a Fourth Amendment violation for events occurring at 1713
 Hollywood Drive. At minimum, it is uncontested that Honeycutt resided at this address. See
 Minnesota v. Olson, 495 U.S. 91, 96-97 (1990) (a defendant’s “status as an overnight guest is

                                                  14
Case 3:15-cr-00058-TAD-KDM          Document 77         Filed 09/14/15      Page 15 of 24 PageID #:
                                            253



 without a warrant, are permitted to “approach a home and knock, precisely because that is no

 more than any private citizen might do.” Florida v. Jardines,       U.S.     , 133 S. Ct. 1409,

 1416 (2013) (citation and internal quotation marks omitted).9 Of course, just as when a private

 citizen knocks on the door, the occupant is under no obligation to open the door or to speak to

 the officer. Kentucky v. King, supra. Moreover, “even if an occupant chooses to open the door

 and speak with the officers, the occupant need not allow the officers to enter the premises and

 may refuse to answer any questions at any time.” Id.

        Here, rather than expending the time and effort to apply for a warrant, S.A. Zordan opted

 to knock on the front door of the house to see whether he could streamline the process by

 obtaining the owner/occupant’s permission to enter and search the home. This investigative

 tactic is not inherently unreasonable. United States v. Jones, 239 F.3d 716, 720 (5th Cir. 2001).

        b)      Defendant Freely and Voluntarily Permitted the Agents to Enter the Home

        Under the Fourth and Fourteenth Amendments a search conducted without a warrant

 supported by probable cause is presumptively unreasonable, subject to but a few well-delineated

 exceptions. Schneckloth v. Bustamonte, 412 U.S. 218, 219, 93 S. Ct. 2041, 2043-44 (1973).



 alone enough to show that he had an expectation of privacy in the home that society is prepared
 to recognize as reasonable”).
        9
           One of the recognized reasons that officers may choose this so-called “knock and talk”
 strategy is so they may seek consent to search from the occupant of the home, thereby obviating
 the time and inconvenience of applying for a warrant. Kentucky v. King, supra; but see Johnson
 v. United States, 333 U.S. 10, 15, 68 S. Ct. 367, 369 (1948) (inconvenience to the officers and
 some slight delay to prepare papers and present the evidence to a magistrate never constitutes a
 convincing reason to bypass a search warrant).




                                                 15
Case 3:15-cr-00058-TAD-KDM           Document 77        Filed 09/14/15      Page 16 of 24 PageID #:
                                             254



 “One of the specifically established exceptions to the requirements of both a warrant and

 probable cause is a search that is conducted pursuant to consent.” United States v. Scroggins,

 599 F.3d 433, 440 (5th Cir.2010) (citation omitted). To meet this exception, the government

 must prove by a preponderance of the evidence (1) that consent was given, (2) voluntarily, (3) by

 a party with actual or apparent authority, and (4) that the search was within the scope of the

 consent. United States v. Freeman, 482 F.3d 829 (5th Cir. 2007); United States v. Santiago, 410

 F.3d 193, 199 (5th Cir. 2005). The first two inquiries are determined based on the totality of the

 circumstances; whereas the court weighs the latter two considerations under a reasonable officer

 standard. Id.

        Here, the uncontradicted evidence establishes that when Honeycutt answered the front

 door, he was confronted by five to six officers, with their weapons holstered. One of the lead

 agents, S.A. Zordan, asked Honeycutt if he could speak with him, to which Honeycutt replied,

 “sure,” and the agents stepped inside. Consent need not be express; it may be signaled by the

 consenting party’s actions. See Scroggins, supra. There is no evidence that the agents barged in

 or forced their way into home. There also is no evidence that Honeycutt objected to the entry or

 that he attempted to limit his willingness to speak to the agents by only agreeing to speak with

 them outside. Finally, defendant does not contest that he had authority to permit the agents

 inside of the home. The undersigned finds that the officers did not violate defendant's Fourth

 Amendment rights by entering the house.

        c)       The Fourth and Fifth (via the Fourteenth) Amendments do not Bar the
                 Admission of Defendant’s Incriminating Statements at Trial

        The admissibility of pre-indictment confessions is regulated by both the Fifth



                                                 16
Case 3:15-cr-00058-TAD-KDM           Document 77       Filed 09/14/15      Page 17 of 24 PageID #:
                                             255



 Amendment Privilege against Compelled Self-incrimination (“Fifth Amendment”) and the Due

 Process Clause of the Fifth and/or Fourteenth Amendments (“Due Process Clause”). The Fifth

 Amendment provides that “[n]o person ... shall be compelled in any criminal case to be a witness

 against himself . . .” U.S. CONST. AMEND. V. In Miranda v. Arizona, the Supreme Court held

 that

       the prosecution may not use statements, whether exculpatory or inculpatory,
       stemming from custodial interrogation of [a] defendant unless it demonstrates the
       use of procedural safeguards effective to secure the privilege against
       self-incrimination. By custodial interrogation, we mean questioning initiated by
       law enforcement officers after a person has been taken into custody or otherwise
       deprived of his freedom of action in any significant way. As for the procedural
       safeguards to be employed, unless other fully effective means are devised to
       inform accused persons of their right of silence and to assure a continuous
       opportunity to exercise it, the following measures are required. Prior to any
       questioning, the person must be warned that he has a right to remain silent, that
       any statement he does make may be used as evidence against him, and that he has
       a right to the presence of an attorney, either retained or appointed.
 Miranda v. Arizona, 384 U.S. 436, 444, 86 S.Ct. 1602, 1612 (1966) (footnote omitted).

 The central principle established by Miranda is that if the police question an in-custody suspect

 without informing him of the rights specified therein, then his responses cannot be introduced

 into evidence to establish his guilt. Berkemer v. McCarty, 468 U.S. 420, 429, 104 S.Ct. 3138,

 3144 (1984). “[F]ailure to give the prescribed warnings and obtain a waiver of rights before

 custodial questioning generally requires exclusion of any statements obtained. Conversely,

 giving the warnings and getting waiver has generally produced a virtual ticket of admissibility . .

 .” Missouri v. Seibert, 542 U.S. 600, 609, 124 S.Ct. 2601, 2608 (2004) (footnote omitted).

        In addition, a criminal defendant is “deprived of due process of law if his conviction is

 founded, in whole or in part, upon an involuntary confession, without regard for the truth or

 falsity of the confession and even though there is ample evidence aside from the confession to


                                                 17
Case 3:15-cr-00058-TAD-KDM           Document 77        Filed 09/14/15      Page 18 of 24 PageID #:
                                             256



 support the conviction.” Lego v. Twomey, 404 U.S. 477, 483-484, 92 S.Ct. 619, 623- 624

 (1972) (citations and internal quotation marks omitted). The defendant is entitled to “object to

 the use of the confession and to have a fair hearing and a reliable determination on the issue of

 voluntariness, a determination uninfluenced by the truth or falsity of the confession.” Id. The

 sole purpose of the hearing is to determine whether the confession was coerced. Id.

        The government must establish by a preponderance of the evidence the voluntariness of

 an incriminating statement and the Miranda waiver. Colorado v. Connelly, 479 U.S. 157, 169,

 107 S.Ct. 515 (1986); Lego, supra; United States v. Mullin, 178 F.3d 334, 341 (5th Cir. 1999).

 The voluntariness of a waiver contemplates two distinct dimensions:

        [f]irst, the relinquishment of the right must have been voluntary in the sense that it
        was the product of a free and deliberate choice rather than intimidation, coercion,
        or deception. Second, the waiver must have been made with a full awareness of
        both the nature of the right being abandoned and the consequences of the decision
        to abandon it.
 United States v. Guanespen-Portillo, 514 F.3d 393, 403 (5th Cir. 2008) (citation omitted).

 Nevertheless, in Connelly, the Supreme Court clarified that “coercive police activity is a

 necessary predicate to the finding that a confession is not ‘voluntary’ within the meaning of the

 Due Process Clause of the Fourteenth Amendment.” Connelly, supra. Equally, “[t]he sole

 concern of the Fifth Amendment, on which Miranda was based, is governmental coercion.” Id.

 Thus, the voluntariness of a Miranda waiver and resulting confession depend upon the absence

 of police overreaching, not on “free choice.” Id.

        The Fifth Circuit has remarked that after Connelly, the relevant test no longer focuses on

 the defendant’s free will. United States v. Raymer, 876 F.2d 383, 386 -387 (5th Cir. 1989)

 (citations omitted). “Instead, the focus is on the presence or absence of police coercion.” Id.



                                                  18
Case 3:15-cr-00058-TAD-KDM          Document 77        Filed 09/14/15      Page 19 of 24 PageID #:
                                            257



 Although a defendant’s mental condition still figures into the voluntariness calculus, there must

 be an element of official overreaching to render a confession involuntary under the Constitution.

 Id. In other words, the police must exploit the defendant’s mental condition. See Raymer, supra.

        Applying the foregoing considerations here, the undersigned reiterates that there was no

 antecedent Fourth Amendment violation. See discussion, supra. Furthermore, it remains

 uncontroverted that S.A. Zordan advised Honeycutt of his Miranda rights shortly after he

 initiated contact, and before he obtained any potentially incriminating statements from him. The

 record is devoid of any allegations or evidence of coercive police tactics throughout the agents’

 encounter with Honeycutt. Moreover, there are no issues regarding Honeycutt’s mental

 competence or lucidity at the time that he made any incriminating statements.

        In the absence of police “overreaching” or coercion and upon consideration of the totality

 of the circumstances, the undersigned finds that the government has demonstrated by a

 preponderance of the evidence the voluntariness of Honeycutt’s incriminating statement(s) and

 Miranda waiver.

        d)      Defendant Freely and Voluntarily Led the Agents to the Jar of
                Methamphetamine

        After S.A. Zordan advised Honeycutt of his Miranda rights, Honeycutt admitted that

 Turner had left methamphetamine at the house. Honeycutt did not express any objection to S.A.

 Zordan’s request for permission to secure the contraband. In fact, Honeycutt walked down the

 hall to retrieve it himself. He also did not object to Zordan’s stated intention to accompany

 Honeycutt as he proceeded to the bedroom because of Zordan’s reasonable (but undisclosed)

 concerns for officer safety. There is no evidence that the agents coerced Honeycutt’s admission



                                                 19
Case 3:15-cr-00058-TAD-KDM           Document 77        Filed 09/14/15      Page 20 of 24 PageID #:
                                             258



 or compliance. Rather, the entire encounter remained light-hearted, with defendant’s full

 cooperation. Accordingly, the court finds that the agents lawfully seized the methamphetamine

 pursuant to Honeycutt’s admission and his implied consent for them to accompany him.

         e)     Defendant Granted the Agents Permission to Search the Remainder of the
                Home

         The court reiterates that consent to search requires the government to prove: (1) that

 consent was given, (2) voluntarily, (3) by a party with actual or apparent authority, and (4) that

 the search was within the scope of the consent. Freeman, supra; Santiago, supra. The court will

 address these elements, in turn.

         I)     Defendant Granted Permission for the Agents to Search the Rest of the House

         As soon as the agents secured the jar of methamphetamine, they escorted Honeycutt back

 to the living room where they informed him that he was under arrest. Zordan advised Honeycutt

 that the agents needed to search the remainder of the home, and asked him whether he objected.

 S.A. Zordan testified that Honeycutt assented to the search. There is no evidence to the contrary,

 and Zordan appeared entirely sincere and credible at the hearing. Thus, the court accepts his

 testimony and finds that Honeycutt consented to the search.

         ii)    Defendant’s Consent was Voluntary

         Voluntariness of consent is determined by the totality of the circumstances, comprised of

 six factors:

         (1)    the voluntariness of the defendant's custodial status;

         (2)    the presence of coercive police procedures;

         (3)    the extent and level of the defendant's cooperation with the police;



                                                  20
Case 3:15-cr-00058-TAD-KDM            Document 77        Filed 09/14/15        Page 21 of 24 PageID #:
                                              259



        (4)     the defendant's awareness of his right to refuse to consent;

        (5)     the defendant's education and intelligence; and

        (6)     the defendant's belief that no incriminating evidence will be found.
 United States v. Kelley, 981 F.2d 1464, 1470 (5th Cir. 1993) (citation and internal quotation
 marks omitted).

 Although all six factors are relevant, no single factor is dispositive. Id.

        Applying the foregoing considerations here, the court initially finds that at the time of the

 consent, Honeycutt was under arrest, but not in handcuffs. Furthermore, he verbally consented to

 the search in surroundings familiar to him, i.e. in his home, rather than at the police station. See

 United States v. Riley, 968 F.2d 422, 426-427 (5th Cir. 1992). Second, although there were at

 least five agents in his home, no weapons were drawn, and there is no evidence that they

 threatened, shouted, tricked, or cajoled him into granting consent. Moreover, Honeycutt was

 cooperating fully with the police: he had conceded the presence of contraband in the home and

 led them to it. At the hearing, S. A. Zordan confirmed that the mood of the encounter was jovial,

 and that Honeycutt never complained about the agents’ actions.

        There is no evidence that Honeycutt was aware of his right to refuse consent. However,

 as one of his present charges includes possession of a firearm by a convicted felon, he apparently

 is not a novice in matters of criminal and police procedure. See United States v. Watson, 423

 U.S. 411, 424, 96 S. Ct. 820, 828 (1976) (defendant was not a newcomer to the law). Moreover,

 before seeking consent to search, Zordan advised Honeycutt of his Miranda rights, which

 included his right to remain silent. Riley, supra (remarking that the officers had advised

 defendant of his Miranda rights).

        No evidence of Honeycutt’s education and intelligence was adduced at the hearing.


                                                   21
Case 3:15-cr-00058-TAD-KDM           Document 77        Filed 09/14/15      Page 22 of 24 PageID #:
                                             260



 However, he told Zordan that he understood his Miranda rights. Finally, because of the number

 of items located in the house that were not well-hidden, Honeycutt likely knew that incriminating

 evidence would be discovered.

        Upon consideration of the totality of the circumstances, the undersigned finds that

 Honeycutt’s consent to search the remainder of the home was voluntary. See e.g., United States

 v. Estrada, 459 F.3d 627 (5th Cir. 2006) (consent freely given where defendants were calm and

 cooperative and police did not employ coercive tactics); United States v. Timoteo, 353 Fed.

 Appx. 968, *6 (5th Cir. Dec. 1, 2009) (arrestee’s verbal consent to a limited search was voluntary,

 where he was very cooperative and despite his refusal to sign written consent).

        iii)    Defendant had Actual or Apparent Authority to Consent

        There is no dispute that Honeycutt had actual or apparent authority to consent to the

 search of his home.

        iv)     The Search Did Not Exceed the Scope of Defendant’s Consent

        “When the police are relying upon consent . . . they have no more authority than they

 have apparently been given by the consent.” United States v. Fields, 131 Fed. App’x 42, 44 (5th

 Cir. 2005). “The standard for measuring the scope of a suspect’s consent under the Fourth

 Amendment is that of ‘objective’ reasonableness – what would the typical reasonable person

 have understood by the exchange between the officer and the suspect?” Florida v. Jimeno, 500

 U.S. 248, 251 (1991). Courts must “take account of any express or implied limitations or

 qualifications attending that consent which establish the permissible scope . . .” Fields, 131 Fed.

 App’x at 44. For example, consent to search may be limited in terms of time, duration, area, or

 intensity. United States v. Green, 388 Fed. Appx. 375, 382-83 (5th Cir. July 1, 2010) (unpubl.)


                                                 22
Case 3:15-cr-00058-TAD-KDM            Document 77       Filed 09/14/15       Page 23 of 24 PageID #:
                                              261



 (citation omitted). Nonetheless, the failure to object to a search is “an indication that the search

 was within the scope of the initial consent.” See e.g. United States v. McSween, 53 F.3d 684, 688

 (5th Cir. 1995); United States v. Mejia, 953 F.2d 461, 466 (9th Cir. 1991).

        Here, Zordan obtained permission from Honeycutt to search the “rest of the house.”

 There is no evidence that Honeycutt limited the scope of his consent, or later retracted it.

 Moreover, the search itself was extremely brief – two minutes. Thus, the court readily finds that

 the scope of Honeycutt’s consent extended throughout the house, including the areas where the

 agents uncovered the seized items.

        The court finds that the government lawfully seized the revolver, pistol, drug

 paraphernalia, and $800 pursuant to defendant’s free and voluntary consent.

                                             Conclusion

        For the above-stated reasons,

        IT IS RECOMMENDED that the motion to suppress [doc. # 49] filed by defendant,

 Kevin Honeycutt be DENIED.

        Under the provisions of 28 U.S.C. §636(b)(1)(C) and FRCP Rule 72(b), the parties have

 fourteen(14) days from service of this Report and Recommendation to file specific, written

 objections with the Clerk of Court. A party may respond to another party’s objections within

 fourteen (14) days after being served with a copy thereof. A courtesy copy of any objection or

 response or request for extension of time shall be furnished to the District Judge at the time of

 filing. Timely objections will be considered by the District Judge before he makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS


                                                  23
Case 3:15-cr-00058-TAD-KDM       Document 77       Filed 09/14/15     Page 24 of 24 PageID #:
                                         262



 REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

       In Chambers, at Monroe, Louisiana, this 14th day of September 2015.


                                                  __________________________________
                                                  KAREN L. HAYES
                                                  UNITED STATES MAGISTRATE JUDGE




                                             24
